Case 2:21-cv-05285-DSF-MAR Document 9 Filed 11/04/21 Page 1 of 1 Page ID #:65




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

  UNITED AFRICAN−ASIAN                 CASE NO.
  ABILITIES CLUB, et al.               2:21−cv−05285−DSF−MAR
              Plaintiff(s),
                                       Order to Show Cause re
        v.                             Dismissal for Lack of
  WEINREB HOLDINGS, LP, et al.         Prosecution

             Defendant(s).




        The Federal Rules of Civil Procedure require a plaintiff to serve process
    on the defendants within 90 days of the filing of the complaint. Fed. R. Civ.
    P. 4(m). The Court may extend this deadline for good cause. Id. More than
    90 days have passed since the complaint in this case was filed, and Plaintiff
    has not filed a proof of service for at least one defendant. Therefore,
    Plaintiff is ordered to show cause no later than October 18, 2021 why the
    unserved defendant(s) should not be dismissed for failure to prosecute. The
    filing of proof(s) of service showing that the relevant defendant(s) was/were
    served within the 90-day period or a showing of good cause for extending
    the service period constitute adequate responses to this order.

      IT IS SO ORDERED.

  Date: November 4, 2021                    /s/ Dale S. Fischer
                                           Dale S. Fischer
                                           United States District Judge
